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                                                                                 ____ FILED ___ ENTERED
                                                                                 ____ LOGGED _____ RECEIVED

                                                                                3:09 pm, Sep 06 2022
TMS: USAO 2022R00523
                                                                                 AT BALTIMORE
                                                                                 CLERK, U.S. DISTRICT COURT
                            IN THE UNITED STATES DISTRICT COURT                  DISTRICT OF MARYLAND
                               FOR THE DISTRICT OF MARYLAND                      BY ______________Deputy


 UNITED STATES OF AMERICA                         *
                                                  *
          v.                                      * CASE NO.  22-2526 BPG
                                                  *
 JUSTIN KUCHTA,                                   * FILED UNDER SEAL
                                                  *
                       Defendant                  *
                                                  *
                                               *******

                                 AFFIDAVIT IN SUPPORT OF
                         CRIMINAL COMPLAINT AND ARREST WARRANT

         Your Affiant, Jessica O’Shea, being duly sworn, deposes and states the following:

                                   Introduction and Agent Background

         1.        Your Affiant is an investigative or law enforcement officer of the United States,

within the meaning of 18 U.S.C. § 2510(7) who is empowered by law to conduct investigations

and to make arrests for, offenses enumerated in 18 U.S.C. § 2516. I am a Special Agent with the

United States Capitol Police (“USCP”) and have been so employed since January 11, 2016. I am

currently assigned to the USCP Investigations Division, Threat Assessment Section. I have

completed federal law enforcement training in numerous investigative techniques and am a

certified criminal investigator through the Federal Law Enforcement Training Center. In the

course of my employment as a Special Agent with the USCP, I have received training regarding

the application for and execution of both search and arrest warrants. I have received training in

assessing and managing individuals who have communicated threats and engaged in behaviors

associated with targeted violence. In my current assignment, I have participated in and conducted

investigations involving threatening communications, both locally and interstate.
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           2.      Because this affidavit is being submitted for the limited purpose of establishing

probable cause for the issuance of a complaint and arrest warrant, I have not included every detail

of every aspect of the investigation. Rather, I have set forth only those facts that I believe are

necessary to establish probable cause. I have not, however, excluded any information known to

me that would defeat a determination of probable cause. The information contained in this

affidavit is based upon my personal knowledge, my review of documents and other evidence, and

my conversations with other law enforcement officers and other individuals. All conversations

and statements described in this affidavit are related in substance and in part unless otherwise

indicated.

           3.      Your Affiant respectfully submits that, based on the facts set forth herein, there is

probable cause to believe that on or about July 18, 2022, JUSTIN KUCHTA (“KUCHTA”)

committed a violation of 18 U.S.C. § 875(c) (Interstate Communication Containing a Threat to

Injure).

                                             Probable Cause

           4.      On July 18, 2022, the USCP received a report from a staff member for U.S. Member

of Congress 1’s district office which is located in Texas. The staff member reported an Eventbrite

message from Email Address 1 which was received on July 18, 2022 at 11:28 a.m., and stated the

following: “Thank you for the address!!! I’m coming to murder all of you Satanist fuckers!!!

Especially the chuckle-fuck Zodiak [sic] Killer [Member of Congress 1]!! That fat fake fucker ass

will be the first on the gallows!! SEE ALL OF YOU FUCKERS REALLY SOON!!! With my

fresh militia and weapons!!! Thanks for the info fuckers!!!”

           5.      On July 22, 2022, the USCP received a report from Member of Congress 1’s office

of a message sent via Eventbrite from Email Address 1 which stated the following: “WE ARE




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COMING FOR CHUCKLEFUCK ZODIAK [sic] KILLER [Member of Congress 1]!!! THANKS

FOR THE ADDRESS AND INVITE, SEE YOU ALL SOON ENOUGH!!!” The Eventbrite

service was being used by an event planner to coordinate an event held outside the State of

Maryland, being attended by Member of Congress 1.

       6.      Records provided by Eventbright.com pursuant to an Emergency Disclosure

Request identify the IP address used to send the July 18, 2022 message as 167.102.245.34.

       7.      An open source internet search revealed that IP Address 167.102.245.34 is

registered to networkMaryland, a private high-speed network operated by the State of Maryland.

       8.      On July 27, 2022, staff for networkMaryland provided records to USCP which

identified that the IP Address 167.102.245.34 originated from a Virtual Private Network within

the State of Maryland, and computer assigned to KUCHTA, on the dates and times that the above

messages were sent.

       9.      On August 3, 2022, your Affiant and another agent interviewed KUCHTA at his

place of employment in Annapolis, Maryland. Initially, KUCHTA denied sending the messages.

Later during that interview, after being advised that it was a federal crime to lie to a federal law

enforcement officer, KUCHTA admitted sending the July 18, 2022 threat. During the interview,

KUCHTA stated that he was working at home on his government-issued computer on July 18,

2022, and that he sent the Eventbrite message on that date.

                                             (cont’d)




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                                              Conclusion

       10.     Based on the forgoing, probable cause exists that KUCHTA violated 18 U.S.C. §

875(c). Accordingly, your Affiant requests that the Court authorize a complaint and arrest warrant

for JUSTIN KUCHTA.

                                                    _______________________
                                                    Jessica O’Shea
                                                    Special Agent
                                                    United States Capitol Police


Affidavit submitted by email and attested to me as true and accurate by telephone consistent with
                                    6th day of September, 2022.
Fed. R. Crim. P. 4.1 and 4(d) this ______


                                             ____________________________________
                                             HONORABLE BETH P. GESNER
                                             CHIEF UNITED STATES MAGISTRATE JUDGE




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